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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )               CIVIL ACTION
v.                                                )
                                                  )               No. 03-3223-CM
                                                  )               No. 00-20066-03-CM
MARIO MENDEZ-ZAMORA,                              )
                                                  )
                       Defendant.                 )
                                                  )

                                    MEMORANDUM AND ORDER

       On June 21, 2000, the Grand Jury returned a superseding indictment that charged defendant,

in addition to others, with one count of conspiracy to distribute and possess with intent to distribute

more than one kilogram of methamphetamine; two counts of distribution and possession with intent

to distribute more than one kilogram of methamphetamine; and one count of distribution and

possession with intent to distribute more than fifty grams of methamphetamine. Defendant pleaded

guilty to Count Five on July 31, 2000, pursuant to a plea agreement.

       Following defendant’s guilty plea, the probation officer prepared a presentence investigation

report (“PSI”). The PSI attributed more than fifteen kilograms of methamphetamine to defendant,

which resulted in a base offense level of 38. The PSI recommended that the court increase

defendant’s offense level by two levels due to defendant’s leadership role in the organization, which

the court found was warranted.1 This enhancement resulted in an adjusted offense level of 40. The

court then reduced defendant’s offense level by three for acceptance of responsibility. Defendant’s


       1
        The PSI also recommended a gun enhancement, but the court did not apply the
enhancement.
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total offense level was 37 and his criminal history category was I, resulting in a guideline range of

210 - 262 months.

       On February 26, 2001, the court sentenced defendant to 210 months on Count Five.

Defendant appealed his sentence, and the Tenth Circuit affirmed. On May 14, 2003, defendant filed

a pro se petition under 28 U.S.C. § 2255 to vacate, set aside, or correct his sentence (Doc. 243).

Defendant contends that his counsel was ineffective in several areas of his case. First, defendant

claims that his counsel was ineffective for failing to adequately explain to him the provisions of the

plea agreement and for failing to advise him that his sentence would be more than the five-year

statutory minimum sentence. Second, he claims that his counsel was ineffective during the

sentencing hearing. And third, he claims that his counsel was ineffective on appeal.

I.     Standard

       In determining whether a habeas petitioner’s trial counsel acted ineffectively, the court

applies the general ineffective assistance of counsel standard identified by the Supreme Court in

Strickland v. Washington, 466 U.S. 668 (1984). See Romano v. Gibson, 278 F.3d 1145, 1151 (10th

Cir. 2002) (applying Strickland). Under Strickland, a petitioner must satisfy a two-part test in order

to prevail on an ineffective assistance of counsel claim. First, he must demonstrate that his

attorney’s “performance was deficient” and “fell below an objective standard of reasonableness.”

Strickland, 466 U.S. at 687-88. The court gives considerable deference to an attorney’s strategic

decisions and “recognize[s] that counsel is strongly presumed to have rendered adequate assistance

and made all significant decisions in the exercise of reasonable professional judgment.” Id. at 690.

Second, a habeas petitioner must show that the trial counsel’s deficient performance prejudiced him,

which requires a showing that there is “a reasonable probability that, but for counsel’s


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unprofessional errors, the result of the proceeding would have been different.” Id. at 694.

        In the context of a challenge to a guilty plea, a petitioner must show that had it not been for

the unsatisfactory advice of his counsel, he would not have entered a guilty plea to the charges. See

Hill v. Lockhart, 474 U.S. 52, 56 (1985).

        In many guilty plea cases, the “prejudice” inquiry will closely resemble the inquiry
        engaged in by courts reviewing ineffective-assistance challenges to convictions
        obtained through a trial. For example, where the alleged error of counsel is a failure
        to investigate or discover exculpatory evidence, the determination whether the error
        “prejudiced” the defendant by causing him to plead guilty rather than go to trial will
        depend on the likelihood that discovery of the evidence would have led counsel to
        change his recommendation as to the plea. This assessment, in turn, will depend in
        large part on a prediction whether the evidence likely would have changed the
        outcome of the trial.

Id. at 59. A petitioner’s “mere allegation” that he would have insisted on trial but for his counsel’s

errors is insufficient to entitle him to relief. Miller v. Champion, 262 F.3d 1066, 1072 (10th Cir.

2001) (quoting United States v. Gordon, 4 F.3d 1567, 1571 (10th Cir. 1993)). The court looks to the

factual circumstances surrounding the plea to determine whether a petitioner would not have entered

a guilty plea. Id. (citations omitted).

II.     Discussion

A. Counsel’s Representation During the Guilty Plea

        Defendant claims that his counsel did not advise him of the consequences of his guilty plea

and that he did not understand its terms and conditions. The plea agreement itself informed

defendant of some of the consequences of his guilty plea. And during the change of plea hearing,

the court took great care in advising defendant of what he could expect from his guilty plea. The

court examined both defendant and his counsel about their knowledge and understanding of the plea

agreement:

        THE COURT: Okay. Has your attorney gone over this charge with you and


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       explained to you what the charge was about?
       DEFENDANT: Yes, he has.
       THE COURT: Has he explained to you the consequences of you pleading guilty to
       that charge?
       DEFENDANT: Sure.
       THE COURT: Okay. Mr. Highland, is it your statement to the court that you’ve gone
       over this charge with defendant, explained to him the nature of the charge as well as
       the consequences of pleading guilty to this charge?
       MR. HIGHLAND: Your Honor, I’ve done that completely on three different
       occasions. I believe he’s fully informed on that.

       According to defendant, he believed his sentence would be the five-year statutory minimum

term of imprisonment. Again, at the change of plea hearing, the court specifically noted:

       THE COURT: Do you realize that even though you plead guilty, the court may still
       impose the same punishment just as if you had pled not guilty, stood trial and been
       convicted by a jury?
       DEFENDANT: Yes.
       THE COURT: Having heard all this about your constitutional rights, if you plead not
       guilty, do you still want to waive them and plead guilty at this time?
       DEFENDANT: Yes.
       THE COURT: I need to also let you know that I’m – that under the statute to which
       you’re being charged, there’s a maximum punishment for your offense, and I want to
       go over that with you. There’s a statutory minimum sentence of five years with a
       maximum sentence of 40 years imprisonment [without parole]. Do you understand
       that’s a possible maximum?
       DEFENDANT: Yes, I understand.
       ...
       THE COURT: Do you understand these possible sentences that you could receive
       and the consequences by pleading guilty at this time?
       DEFENDANT: Yes.
       THE COURT: Do you still want to plead guilty right now?
       DEFENDANT: Yes.

       The court also informed defendant that he would be sentenced under the sentencing

guidelines. Defendant represented that he understood this and that he had discussed the application

of the sentencing guidelines to his case. Defendant also said he understood that if the sentence was

more severe than what he expected, then he was still bound by his guilty plea and could not

withdraw it. In addition, defendant stated that he had no complaints about his court-appointed



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attorney.

       Furthermore, at defendant’s sentencing hearing, the court recognized that it had taken extra

precautions to make sure that defendant understood the application of the sentencing guidelines to

his sentence:

       In regards to the plea that was given to the court and accepted, if the court remembers
       correctly, even at the time of the plea, Mr. Mendez-Zamora had some questions about
       the impact and the scope of the plea. And if I remember correctly, the court made
       sure that he had an opportunity to speak with his counsel and also the court, on its
       own, informed defendant that the court would not accept his plea unless he freely,
       voluntarily, understandably wanted to enter it. That’s to the best of the court’s
       recollection and after having gone over that with the defendant, the defendant did in
       fact plead guilty.

       Finally, the court rejects defendant’s argument that he did not understand what was

happening in his case because his native language is Spanish. The affidavit of his counsel represents

that all communications between them were translated with a Spanish speaker. And a translator was

present during the change of plea hearing at which the court explained all of this information to

defendant.

       The factual circumstances surrounding the plea in this case serve as compelling evidence that

defendant voluntarily and knowingly entered a plea. See United States v. Hahn, 359 F.3d 1315,

1325 (10th Cir. 2004) (explaining that the court looks to an informed plea colloquy for evidence that

defendant knowingly and voluntarily entered into agreement). Because defendant has failed to

establish prejudice or that counsel’s actions fell below an objective standard of reasonableness, the

court denies defendant’s petition with respect to his guilty plea.

B. Counsel’s Representation During Sentencing

       Defendant next contends that his counsel failed to effectively represent him at the sentencing

hearing because counsel withdrew defendant’s objection to the two-level enhancement for role in the



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offense.2 On appeal, the Tenth Circuit found that this withdrawal also waived defendant’s right to

appeal the matter. Nonetheless, the Tenth Circuit still considered the merits of defendant’ argument,

and held:

       In any event, Defendant signed a plea agreement in which he acknowledged that the
       government could produce at trial certain evidence summarized in the agreement.
       That evidence would establish Defendant’s role as an organizer. For example, the
       evidence shows that he arranged for another person to transport methamphetamine
       from California to Kansas in February 1998 and also arranged for two drug traffickers
       to obtain methamphetamine from two of his associates in May 1998.

United States v. Mendez-Zamora, 42 Fed. Appx. 183, 184-85 (10th Cir. 2002).

       Based on this observation, the court cannot conclude that defendant’s counsel at sentencing

was ineffective in withdrawing the objection to the two-level enhancement for role in the offense.

C. Counsel’s Representation During Appeal

       Defendant’s last argument is that his counsel ineffectively represented him on appeal.

Counsel submitted a brief to the Tenth Circuit, raising four issues. The brief indicated that it was

submitted at defendant’s request pursuant to Anders v. California, 386 U.S. 738 (1967) because

there were no legitimate issues to appeal. Defendant then filed his own pro se brief and reply. As

previously noted, the Tenth Circuit affirmed defendant’s sentence and found defendant’s appeal to

be frivolous. See id. at 184. The court fails to see how counsel could have been ineffective on

appeal when he filed the Anders brief for defendant, and the Tenth Circuit held that the appeal was

frivolous. Defendant has failed to establish prejudice or that counsel’s actions fell below an

objective standard of reasonableness, and the court denies his petition on this issue.




       2
          Defendant was represented by different counsel at the sentencing hearing than during the
plea stage.

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D. Conclusion

       The files and records conclusively show that defendant is not entitled to relief. Accordingly,

no evidentiary hearing is required. See United States v. Marr, 856 F.2d 1471, 1472 (10th Cir. 1988)

(holding that no hearing is required where factual matters raised by a § 2255 petition may be

resolved on the record).

II. Motion to Allow Supplemental Briefing in Light of the Unites States Supreme Court

Decision in United States v. Booker (Doc. 259)

       Also pending before the court is defendant’s motion to supplement briefing in light of United

States v. Booker, 543 U.S. 220 (2005). Defendant’s motion to supplement is futile, as the Tenth

Circuit has held that Booker does not apply retroactively to collateral petitions. United States v.

Bellamy, 411 F.3d 1182, 1186 (10th Cir. 2005). In this case, defendant’s case is not pending on

direct review and was final before the Supreme Court’s decision in Booker. Booker does not apply

retroactively to defendant’s § 2255 petition, and the court therefore denies his motion to

supplement.3

       IT IS THEREFORE ORDERED that the Motion Pursuant to 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence By a Person in Federal Custody (Doc. 243) is denied.

       IT IS FURTHER ORDERED that defendant’s Motion to Allow Supplemental Briefing in

Light of the United States Supreme Court Decision in United States v. Booker (Doc. 259) is denied.




       3
          In defendant’s reply brief to his § 2255 motion, defendant also made several arguments
based on Blakely v. Washington, 542 U.S. 296 (2004). Because Blakely, like Booker, does not apply
retroactively, United States v. Price, 400 F.3d 844, 849 (10th Cir. 2005), defendant is not entitled to
relief.

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  Dated this 30th   day of March 2006, at Kansas City, Kansas.


                                              s/ Carlos Murguia
                                              CARLOS MURGUIA
                                              United States District Judge




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